
Appeal from a judgment of the Supreme Court, Monroe County (Daniel J. Doyle, J.), rendered May 7, 2009. The judgment convicted defendant, upon a jury verdict, of manslaughter in the first degree.
It is hereby ordered that the judgment so appealed from is unanimously affirmed.
Memorandum: Defendant appeals from a judgment convicting him, following a jury trial, of manslaughter in the first degree (Penal Law § 125.20 [1]). Defendant failed to preserve for our review his challenge to Supreme Court’s justification charge (see CPL 470.05 [2]) and, in any event, we conclude that “the justification charge, viewed in its entirety, was a correct statement of the law” (People v Humphrey, 109 AD3d 1173, 1175 [2013] [internal quotation marks omitted]; see People v Johnson, 103 AD3d 1226, 1226 [2013], lv denied 21 NY3d 944 [2013]; People v Poles, 70 AD3d 1402, 1403 [2010], lv denied 15 NY3d 808 [2010]). “Because the court did not erroneously instruct the jury regarding justification, defense counsel was not ineffective for failing to object to that charge” (Johnson, 103 AD3d at 1226; see Humphrey, 109 AD3d at 1175). Present — Centra, J.P., Peradotto, Carni, Lindley and Valentino, JJ.
